                                     EXHIBIT A

                            Declaration of Timothy W. Burns




DOCS_NY:48827.1 18502/002
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                                          )
    In re:                                                                )    Chapter 11
                                                                          )
    THE DIOCESE OF BUFFALO, N.Y.,                                         )    Case No. 20-10322-CLB
                                                                          )
                                         Debtor.                          )
                                                                          )

               DECLARATION OF TIMOTHY W. BURNS IN SUPPORT OF
            APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED
               CREDITORS TO RETAIN AND EMPLOY BURNS BAIR LLP
        AS SPECIAL INSURANCE COUNSEL EFFECTIVE AS OF OCTOBER 5, 2023

             I, Timothy W. Burns, declare under penalty of perjury as follows:

             1.      I am a partner of the law firm Burns Bair LLP (“Burns Bair”), proposed special

insurance counsel to the Official Committee of Unsecured Creditors (the “Committee”) of The

Diocese of Buffalo, N.Y. (the “Debtor”).

             2.      I submit this declaration in support of the Application of the Official Committee of

Unsecured Creditors to Retain and Employ Burns Bair LLP as Special Insurance Counsel

Effective as of October 5, 2023 (the “Application”)1.

             3.      The facts set forth in this declaration are personally known to me, and, if called as

a witness, I could and would competently testify thereto. To the extent any information

disclosed herein requires subsequent amendment and/or modification, Burns Bair will use

reasonable efforts to file a supplemental declaration reflecting such amended and/or modified

information.

             4.      On October 5, 2023, the Committee selected Burns Bair as special insurance

counsel, subject to approval of this Court.


1
             Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Application.


DOCS_NY:48827.1 18502/002
        5.       Burns Bair is a law firm with considerable experience in high-stakes insurance

litigation, as well as domestic and international insurance arbitration. Burns Bair has experience

advising and working in concert with other attorneys to navigate discrete insurance issues in the

context of complex litigation proceedings. Burns Bair has successfully recovered substantial

insurance proceeds in other actions involving insurance disputes arising from sexual abuse

allegations involving Catholic dioceses.

        6.       Currently, Burns Bair serves as special insurance counsel in various diocesan

matters, including the Roman Catholic Diocese of Rockville Centre, New York bankruptcy, Case

No. 20-12345; the Roman Catholic Diocese of Syracuse, New York bankruptcy, Case No. 20-

30663; the Diocese of Rochester, New York bankruptcy, Case No. 19-02021; the Roman

Catholic Diocese of Albany, New York bankruptcy, Case No. 23-10244; the Roman Catholic

Bishop of Oakland, California bankruptcy, Case No. 23-40523; and the Roman Catholic Bishop

of Santa Rosa, California bankruptcy, Case No. 23-10113, among other representative matters.

        7.       Burns Bair has worked with prominent experts to produce persuasive reports on

industry custom and practice regarding bad faith, claims handling, and liability coverage in abuse

cases. Burns Bair has also briefed and argued numerous legal issues surrounding coverage for

sexual abuse claims, including lost policies, the number of occurrences, the expected or intended

exclusion, annualization of policy limits, waiver/estoppel, and many others.

        8.       Burns Bair will carefully coordinate all of its tasks to achieve case efficiencies

and avoid duplication of efforts. Indeed, lead counsel for the Committee, Pachulski Stang Ziehl

& Jones LLP, and Burns Bair have carefully planned their work streams to avoid any duplication

of work and the firms will work proactively to make certain that their scope of work does not

bleed into one another.




DOCS_NY:48827.1 18502/002
           9.        Burns Bair’s standard hourly rates for attorneys and paraprofessionals are:

                     a.       Partners:                   $900 to $1120;
                     b.       Associates:                 $550; and
                     c.       Paraprofessionals:          $360.

           10.       Due to the circumstances of this Case, the Firm proposes charging hourly rates

that are substantially below its regular hourly rates. The Firm proposes to cap its rate for

attorneys working on the case at $700 per hour and for paraprofessionals working on the case at

$300 per hour.2 Travel time will not be charged to the estate.

           11.       Burns Bair will maintain detailed, contemporaneous time records in six-minute

intervals and apply to this Court for payment of compensation and reimbursement of expenses in

accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local

Bankruptcy Rules, the Local Guidelines, the Fee Guidelines, and any additional procedures that

may be established by the Court in this Chapter 11 Case. Burns Bair has agreed to accept as

compensation and reimbursement such sums as may be allowed by the Court. Burns Bair

understands that interim and final fee awards are subject to approval by this Court.

           12.       Burns Bair has made the following investigation of disinterestedness prior to

submitting this Declaration. Burns Bair has undertaken a full and thorough review of its

computer database, which contains the names of clients and other parties interested in particular

matters. The Firm requires all of its professionals, before accepting the representation of a new

client, or the representation of an existing client in a new matter, to perform a conflicts check

through the Firm’s database and to enter conflict information regarding new clients or new



2
    The standard hourly rates for the professionals primarily responsible for this matter are:
      a. Tim Burns, Partner:                             $1120;
      b. Jesse Bair, Partner:                            $900;
      c. Brian Cawley, Associate:                        $550;
      d. Nathan Kuenzi, Associate:                       $550; and
      e. Karin Jonch-Clausen, Associate:                 $550.


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matters into that database. Thus, a review of said computerized database should reveal any and

all actual or potential conflicts of interest with respect to any given representation. In particular,

an employee of the Firm, under my supervision, entered the name of the Debtor, the creditors of

the Debtor as disclosed by it in filings with the Court, counsel to the creditors of the Debtor as

disclosed by the Debtor’s in Court filings, and the U.S. Trustee through the Firm’s database.

          13.    Other than as described below and with the exceptions of the representations

noted in Schedule 1 after diligent inquiry, I have ascertained (a) no connection, as such term is

used in section 101(14)(C) of the Bankruptcy Code, as modified by section 1107(b) and

Bankruptcy Rule 2014(a), between Burns Bair and any party in interest in this Chapter 11 Case,

including with the Debtor, its creditors, the U.S. Trustee, any person employed in the office of

the U.S. Trustee or any other party with an actual or potential interest in this Chapter 11 Case or

their respective attorneys or accountants; (b) Burns Bair is not a creditor, equity security holder,

or insider of the Debtor; (c) none of Burns Bair’s lawyers is, or was within two years of the

Petition Date, a director, officer, or employee of the Debtor; and (d) Burns Bair neither holds nor

represents an interest adverse to the Debtor, its estate, or any class of creditors by reason of any

direct or indirect relationship to, connection with, or interest in the Debtor, or for any other

reason.

          14.    Certain Committee members are represented by attorneys who represent

committee members in the chapter 11 cases filed by the Roman Catholic Diocese of Rockville

Centre, New York, the Diocese of Rochester, New York, the Diocese of Albany, New York, and

the Diocese of Syracuse, New York, where Burns Bair serves as special insurance counsel.

Those law firms are: Jeff Anderson & Associates, PA, Pfau Cochran Vertetis Amala PLLC,

Merson Law, and the Law Office of Mitch Garabedian.




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        15.      In addition, Burns Bair has represented, represents, and in the future will likely

represent debtors and creditors’ committees in cases unrelated to the Debtor and this proceeding

wherein one or more of the firms representing the members of the Committee or other parties in

interest serve as or will serve as professionals to committee members.

        16.      Burns Bair did not provide the Committee or any informal group of creditors of

the Debtor with legal services prior to the Selection Date. Accordingly, Burns Bair has not

received any prepetition compensation from the Committee or from any of its members.

        17.      Burns Bair will conduct an ongoing review of its files to ensure that no

disqualifying circumstances arise. If any new relevant facts or relationships are discovered, I will

supplement this Declaration to the Court.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

Dated: Madison, Wisconsin
       October 19, 2023

                                                       /s Timothy W. Burns
                                                       Timothy W. Burns




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